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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                       )
IN RE PHARMACEUTICAL INDUSTRY                          )   MDL NO. 1456
AVERAGE WHOLESALE PRICE LITIGATION                     )   Civil Action No. 01-12257-PBS
                                                       )   Subcategory No.: 07-12141-PBS
                                                       )
THIS DOCUMENT RELATES TO:                              )
                                                       )   Judge Patti B. Saris
State of Iowa v. Abbott Laboratories, Inc., et al.     )
                                                       )



     [PROPOSED] ORDER OF DISMISSAL OF PLAINTIFF’S CLAIMS AGAINST
                    DEFENDANT MEDIMMUNE, INC.

       The Motion for Dismissal is hereby GRANTED. All Claims in this action against

Defendant Medimmune, Inc. are dismissed with prejudice and without costs to any party.

       IT IS SO ORDERED

Dated: _______________, 2010



                                                     _____________________________
                                                     The Honorable Patti B. Saris
                                                     Judge
